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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                    -                        X

RAJAH S. IKKER,


                       Plaintiff,                                   ORDER

        -against-                                                   15-cv-6975(NG)


CITY OF NEW YORK,POLICE OFFICER DARION
FRANCIS, AND POLICE OFFICER BRIAN DOYLE,

                       Defendants.
                                        -                    \

GERSHON,United States District Judge:

       I am in receipt of Mr. Figeroux's proposed Order to Show Cause as to why Figeroux &
Associates should not be relieved as counsel. Mr. Figeroux is directed to make every effort to serve

a copy of his application for an Order to Show Cause on plaintiff prior to 9:30 a.m. tomorrow,
December 14th. Mr. Figeroux, plaintiff, defense counsel, and defendants should be present at 9:30
a.m. tomorrow in Courtroom 6D South. If plaintiff was unable to be served prior to 9.30, he should
be served in the courtroom and any response he may have to the proposed Order to Show Cause

will be heard at that time.

       I reserve decision on the request for an adjournment of the trial date, pending the outcome

of the motion to withdraw. The parties are advised that they should be prepared to proceed to trial
tomorrow.


                                                             SO ORDERED.

Dated: December 13, 2017
         Brooklyn, New York                                   J/Um
                                                              NINA GERSHON
                                                              United States District Judge
